                         MINUTE ENTRY FOR CRIMINAL PROCEEDING

BEFORE MAG. JUDGE Roanne L. Mann                                         DATE :       4/23/20

DOCKET NUMBER: 19CR108(MKB) & 19CR139(RJD) LOG #:Court Reporter Linda Marino

DEFENDANT’S NAME :                 Andre Wilburn
                                   Present   X Not Present               X Custody              Bail

DEFENSE COUNSEL:              James Darrow
                             X Federal Defender              CJA               Retained

A.U.S.A:       Virginia Nguyen                              CLERK:       Felix Chin

INTERPRETER :                                               (Language)

     Defendant arraigned on the :      indictment       superseding indictment          probation violation
____    Defendant pleads NOT GUILTY to ALL counts.
 X      DETENTION HEARING Held.                   Defendant’s first appearance.
        ____   Bond set at                           . Defendant ___ released ___ held pending
               satisfaction of bond conditions.
               Defendant advised of bond conditions set by the Court and signed the bond.
               Surety(ies) sworn, advised of bond obligations by the Court and signed the bond.
        ____   (Additional) surety/ies to co-sign bond by
        ____   After hearing, Court orders detention in custody. ____ Leave to reopen granted
____    Temporary Order of Detention Issued. Bail Hearing set for ______________________________

       At this time, defense counsel states on the record that the defendant does not have a bail
       application / package. Order of detention entered with leave to reapply to a Magistrate
       or to the District Court Judge to whom the case will be assigned.

____    Order of Excludable Delay/Speedy Trial entered. Start                        Stop

____    Medical memo issued.

        Defendant failed to appear, bench warrant issued.

       Status conference set for                      @               before Judge

Other Rulings :   All parties appeared via teleconference. Dfse counsel waived dft’s appearance.
Pretrial Officer Celine Ferguson appeared via teleconference. Dfse counsel presented a bail
package with 2 sureties citing the conditions at the MDC; govt opposed based on dft’s guilty plea in
one of his cases possibly increasing dft’s risk of flight and danger to the community on the other
case; court denied the application. Order of detention remains in effect.
